431 F.2d 641
    RED STAR TOWING &amp; TRANSPORTATION COMPANY, as Owner of the BARGE RED STAR NO. 70, Red Star Barge Line, Inc., as Owner of the BARGE RED STAR NO. 72 and College Point Dry Dock &amp; Supply Co., Inc., as Owner of the BARGE RED STAR NO. 73, Plaintiffs-Cross-Appellants,v.The TUG CATHERINE, her engines, etc., Helen B. Inc., Bronx Towing Line, Inc., Defendants-Appellants, andM/S PHILIPPINE PRESIDENT OSMENA, her engines, etc., and United Philippine Lines, Defendants-Appellees.NATIONAL DEVELOPMENT COMPANY, as Owner and United Philippine Lines, as Operator of M/S Philippine President Osmena, Plaintiffs-Appellees,v.TUG CATHERINE, her engines, etc. and Helen B. Inc., and Bronx Towing Line, Inc., Defendants-Appellants.
    No. 16.
    No. 17.
    Docket 34400.
    Docket 34401.
    United States Court of Appeals, Second Circuit.
    Argued September 15, 1970.
    Decided September 16, 1970.
    
      Christopher E. Heckman, Richard E. Meyer, McHugh, Heckman, Smith &amp; Leonard, New York City, for plaintiffs-cross-appellants.
      Louis P. Sheinbaum, Bigham, Englar, Jones &amp; Houston, New York City, for defendants-appellants.
      Joseph M. Brush, Nicholas Milano, Cichanowicz &amp; Callan, New York City, for appellees.
      Before WATERMAN, MOORE and KAUFMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A collision occurred in the Kill Van Kull between the M/S Philippine President Osmena, an ocean-going vessel, and Barge Red Star No. 70. The Barge, together with Barge Red Star No. 72 and Barge Red Star No. 73 were being towed by the Tug Catherine. The two first-named barges, loaded, were on the tug's starboard side, one behind the other, and were held to have been damaged in the collision. The Osmena also suffered damage. No. 73, light, was on the tug's port side and was not found to have been damaged.
    
    
      2
      The owners of the barges filed their libel against the tug and its owners and the Osmena and its operator. The owner and operator of the Osmena in a separate proceeding filed their libel against the tug and its owners.
    
    
      3
      The two proceedings were consolidated below and, after hearing, Judge Bonsal in a careful opinion held that the Tug Catherine was at fault and that her fault was the sole cause of the collision. Damages were awarded against the owners of the tug for the loss found to have been suffered by the owners of barges 70 and 72 and an award was made to the owner and operator of the Osmena for the damages occasioned to the Osmena.
    
    
      4
      The Catherine appeals in each case and the two appeals were consolidated for action in this court.
    
    
      5
      The barge owners cross-appealed in their case against the Catherine. They maintain that the damage award to them was inadequate, for the district court denied their claims to be recompensed for alleged business losses caused by the detention of the barges following the collision.
    
    
      6
      We agree with the results reached by the judge below and we affirm the judgment entered in the district court on Judge Bonsal's opinion.
    
    